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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                CRIMINAL 08-0242CCC
 1) GILBERTO RODRIGUEZ
 2) ANGEL MENDEZ
 3) SUGEYL RODRIGUEZ
 4) BARBARA RAMOS
 5) YAMILET FAJARDO
 6) MARYLIN PINEDA
 7) MILDRED BAEZ
 8) PEDRO PEREZ
 9) CARMEN SEIN
 10) RICHARD PIETRI
 11) EUSEBIO MERCEDES
 12) GERALDO CASTRO
 13) GILBERTO MODESTO
 14) ONNIS ACOSTA
 15) MARILIZ SUAREZ
 16) FRANCISCO FONTANEZ
 17) SAMUEL ESCOBAR
 18) MARTIN PERNAS
 19) ANIBAL ROSSELLO
 20) SONYA CASTELLANOS
 21) MAXIMILIEN ESPINAL
 22) MIGUEL DE AZA
 23) HARRY REYES
 24) LOUIS CRUZ
 25) JULIO MARIN
 26) GLORIA CASTRO
 27) CESAR BERROA
 28) RAYSA PACHECO
 29) JULIO CASTRO
 30) ELBA TORRES
 31) GLENDA DAVILA
 32) RAYMOND RODRIGUEZ
 33) JOEL CASTILLO
 34) YOLANDA RODRIGUEZ
 Defendants
                                       ORDER
      During the trial session of March 21, 2011 an issue arose related to the admissibility
of Board of Medical Examiners’ envelopes addressed to SIMED purportedly containing
certifications of good standing of defendant (27) César Berroa, (12) Geraldo Castro and (29)
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Julio Castro as well as a certification of good standing for defendant (31) Glenda Dávila and
for defendant (13) Gilberto Modesto-Lebrón, without envelopes.               The government
represented to the Court that SIMED had not copied these envelopes upon making its
disclosure of records to the United States and that it was not until two days before that it had
learned of their existence. Additionally, Assistant U.S. Attorney Ruiz-Santiago stated that
the government would establish through the SIMED witnesses that the foldings on the
original certifications of good standing of defendants Glenda Dávila and Gilberto Modesto-
Lebrón (IDs 89 and 91) were proof that these documents had been mailed by the Board of
Medical Examiners of P.R. to SIMED, the entity that received them, notwithstanding the
absence of the envelopes themselves. Given the Court’s concerns regarding the existence
of the fold marks themselves and whether or not these could be linked to a document
delivered by mail, it decided to hold the authentication testimony of the SIMED custodian
outside the presence of the jury.
       Trial was not held on March 23, 2011 in order to allow the defendants and their
counsel to investigate any matter related to the evidentiary materials mentioned above.
SIMED, the insurance company whose records are the subject matter of the investigation,
had been closed due to a local holiday on March 22, 2011. During today’s hearing, March
24, 2011, the Court heard the testimony of Luz Belinda Gómez-Pizarro who has worked at
SIMED since August 1998 at its filing room department. She explained how documents
received at the file room are processed to keep a virtual record and how a physical record
is made which is sent to the central dead file for storage. She explained the search that she
conducted regarding IDs 89, 90, 91, 93 and 94 consisting of the original certifications of
good standing issued by the Board of Medical Examiners of P.R. on May 14, 2007 and May
23, 2006 for Glenda Dávila and Gilberto Modesto-Lebrón, respectively (IDs 89 and 90);
original Board certification of good standing issued to César A. Berroa-Báez on August 23,
2005 with an envelope stamped as received on August 31, 2005 by SIMED on both the
envelope and the original certification (ID 91); original Board certification of good standing
issued on August 24, 2005 to Gerardo Castro-Betances with stapled envelope, stamped as
received by SIMED on August 29, 2005 both on the envelope attached and on the
certification (ID 93) and the original Board certification of good standing to Julio Castro-Cruz
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on September 9, 2005 with stapled envelope that has a received SIMED stamp of
September 22, 2005 that also appears on the original certification (ID 94).
       Having considered the direct and the cross-examinations of the SIMED witness for
over three hours regarding the process of filing, scanning and safekeeping of records
received by SIMED at its file room, specifically those offered by the government as IDs 89,
90, 91, 93 and 94, the Court concludes that they have been fully authenticated by the
witness as certifications of good standing issued on the dates indicated above to defendants
Dávila, Modesto-Lebrón, Berroa, Castro-Betances and Castro-Cruz including the envelopes
corresponding to IDs 91, 93 and 94. ID 91, which is composed of the original certification
of César A. Berroa-Báez and a Manila envelope measured in court to be 12 inches by 9
inches, was a subject of controversy since defendants claimed that at the time that it was
presented to the SIMED witness Gómez-Pizarro the envelope and the certification were not
stapled. The witness testified that she found both the certification and the envelope, ID 91,
stapled together. The Manila envelope has a staple firmly attached to it which is exactly of
the same length as the tear that appears on the certification itself; when the holes punched
in the certification and the Manila envelope are lined up, the cut in the certification falls
exactly over the staple on the envelope. Additionally, both the certification and the Manila
envelope addressed to SIMED bear the same SIMED receipt stamp dated August 31, 2005.
These physical characteristics lead to the reasonable inference that the certification and the
Manila envelope marked as ID 91 were stapled together at SIMED. The fact that at the
time of presenting it to the witness during her authentication testimony this morning they
were not stapled together does not defeat the reasonableness of that inference. The six (6)
original SIMED files which were brought to Court by a SIMED record custodian on March 21,
2011 and kept under the custody of the Court since then were provided to the defendants
and their attorneys for examination in open court that same day. A plausible explanation is
that they came apart at some time during the handling of ID 91 in court by the defendants
and their attorneys. The Court rules that ID 91 is a unit for purposes of this Fed.R.Evid.104
preliminary ruling.
       Accordingly, the five IDs are admitted as exhibits 45 through 49. The matter of the
fold marks on IDs 89 and 90, now Exhibits 45 and 46, as indicative that these particular
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certifications of good standing of defendants Dávila and Modesto-Lebrón, respectively, were
received by mail at SIMED is a matter that defendants are free to pursue pursuant to
Fed.R.Evid. 104(e) just as they may introduce before the jury evidence relevant to weight
or credibility regarding the five exhibits found admissible by the Court in this Order.
       SO ORDERED.
       At San Juan, Puerto Rico, on March 24, 2011.




                                                  S/CARMEN CONSUELO CEREZO
                                                  United States District Judge
